         Case 4:19-cr-00572-KGB
                             MJStar Document        30APPEARANCE,
                                    Reporting:INITIAL    Filed 10/24/19
                                                     ARRAIGNMENT,
                                                                               Page 1 of 1
                                                                  Length of Hearing(minutes):
                                                                    Length of Hearing (minutes):
                                                                                                     11
                                                                                                   -f-#----
                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS

United States of America
                                                                                            FILED
                                                                                      U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT ARKANSAS

V.                                      Case No.: 4:19CR00572-03 KGB                       OCT 2 4 2019
Cody Alexander Capps                                                          JAy.M·
                                                                              B        ES~O.K,CLERK
                                                                                        ~
                                                                                                        DEPCLERK
                             PLEA AND ARRAIGNMENT REPORT

 Plea Date: 10/24/2019                              Deft isv-;-not__ in custody
 Continued Until: _ _ _ _ _ _                       _ _ Deft did not appear
 Reason for continuance____                                Clerk to issue warrant

                                            COUNSEL

Assistant U.S. Attorney:  Benecia B. Moore
Defense Counsel:     DA,,vvy\~     ~  M                (Appointed I Retained)
Interpreter's Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                PLEA

TRIAL BEFORE DISTRICT COURT                            CONSENTS TO TRIAL BEFORE MAGST.

Not Guilty_ _      e . . . __ _ _ _ _ _ _ _ _          Not Guilty_ _ _ _ _ _ _ _ _ _ __
Guilty (indicates desire)_ _ _ _ _ __                  Guilty _ _ _ _ _ _ _ _ _ _ _ __
Nolo Contendere (desire) _ _ _ _ _ __                  Nolo Contendere - - - - - - - - -

     Y          Demands Trial by Jury                  _ _ _ _ _ _ Waives Jury Trial
                                                            Deft agrees_ _ _ _ _ __
                                                            Govt agrees_ _ _ _ _ __


Bail Set at
              /1~JJxu..1.-            BAIL
                              By~AA--:-::                    Date:    ------------
      6::n~hA-,A
Bail Changed to: _ _ _ _ _ By: _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ _ __


Number of Days estimated for Trial: 2 weeks (exclusive of defense)
Estimated Trial Date: 11/25/2019 @ 9:30 a.m., before the Honorable Judge Kristine G.
Baker in Room 4C. All Pretrial Motions to be filed within the time specified within the
Pretrial Discovery Order, to be entered forthwith.

Other: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

 DATE: 10/24/2019                               SO ORDERED:              ~
                                                          U. S. MAGISTRATE JUDGE
